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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-81004-CIV-CANNON/Reinhart

  STEPHEN MUCCIO, individually and
  on behalf of all others similarly situated,                       CLASS ACTION

          Plaintiff,                                                JURY TRIAL DEMANDED

  v.

  GLOBAL MOTIVATION, INC., and
  JORDAN R. BELFORT,

        Defendants.
  ____________________________________/

                                          NOTICE OF APPEAL

          NOTICE IS HEREBY GIVEN that Plaintiff Stephen Muccio appeals to the Eleventh Circuit

  Court of Appeals the Order Granting Defendants’ Motion to Dismiss, [ECF No. 40], attached as Exhibit

  A. Pursuant to Federal Rule of Appellate Procedure 3(c)(6), Plaintiff designates only the part of the

  Order dismissing Counts I and II of Plaintiff’s First Amended Complaint under the Florida Telephone

  Solicitation Act, Fla. Stat. § 501.059, for lack of Article III standing. Although the Order is labeled as

  being “without prejudice,” it is considered an appealable final order.1 Pursuant to Federal Rule of

  Appellate Procedure 3(c)(3), Plaintiff notes that the instant matter is a putative class action, but a class

  has not been certified.




  1
    See Gomez v. Dade Cty. Fed. Credit Union, 610 F. App'x 859, 862-63 (11th Cir. 2015)
  (confirming jurisdiction over appeal where “the court dismissed plaintiff’s case without prejudice
  [for lack of standing], but Gomez did not take the . . . opportunity to amend and refile his complaint.
  Instead, he appealed.”); Davis Forestry Corp. v. Smith, 707 F.2d 1325 n.18 (11th Cir.1983) (“A
  dismissal without prejudice can be appealed as a final order.”).
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  Dated: January 5, 2023


                                                Respectfully submitted,

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